






Opinion issued October 11, 2007 

     












In The

Court of Appeals

For The

First District of Texas






NO. 01-07-00768-CR






RONALD JOSEPH, Appellant


V.


THE STATE OF TEXAS, Appellee






On Appeal from the 230th District Court

Harris County, Texas

Trial Court Cause No. 1037583






 MEMORANDUM OPINION


	Appellant pleaded guilty to the offense of murder and, in accordance with the
plea bargain agreement, the trial court sentenced appellant to confinement for 25
years.  Appellant filed a timely notice of appeal.  We dismiss for lack of jurisdiction.

	In a plea-bargained case in which the punishment assessed does not exceed the
plea agreement, a defendant may appeal only those matters that were raised by written
motion filed and ruled on before trial, or after obtaining the trial court's permission
to appeal.  Griffin v. State, 145 S.W.3d 645, 648-49 (Tex. Crim. App. 2004); Cooper
v. State, 45 S.W.3d 77, 80 (Tex. Crim. App. 2001); Tex. R. App. P. 25.2(a)(2).

	The trial court's certification of appellant's right to appeal in this case states
that this is a plea-bargained case and appellant has no right to appeal.  The record
supports the correctness of the certification.  Dears v. State, 154 S.W.3d 610, 614-15
(Tex.  Crim. App. 2005).  We must dismiss an appeal if the trial court's certification
shows there is no right to appeal.  See Tex. R. App. P. 25.2(d).

	We note that appellant also waived his right to appeal.  See Buck v. State, 45
S.W.3d 275, 278 (Tex. App.--Houston [1st Dist.] 2001, no pet.).	Accordingly, we dismiss the appeal for lack of jurisdiction.

	Any pending motions are denied as moot.

PER CURIAM

Panel consists of Justices Taft, Hanks, and Higley.

Do not publish.  Tex. R. App. P. 47.4.


